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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA


 FRANK GARRISON,                                   CIVIL ACTION NO.: 1:22-cv-1895

        Plaintiff,

 v.

 U.S. DEPARTMENT OF EDUCATION,

 &

 MIGUEL CARDONA, U.S. SECRETARY
 OF EDUCATION

        Defendants.


                       MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff respectfully moves for a preliminary injunction under Federal Rule of Civil

Procedure 65 to enjoin Defendants from implementing their planned cancellation of federal student

loans, which is set to take place on or about October 1, 2022. Plaintiff relies upon his

contemporaneously filed Memorandum in Support of Plaintiff’s Motion for Temporary

Restraining Order to support the instant motion. See Long v. Bd. of Educ., Dist. 128, 167 F. Supp.

2d 988, 990 (N.D. Ill. 2001) (“The standards for issuing temporary restraining orders are identical

to the standards for preliminary injunctions.”).

       Should the Court deny Plaintiff’s’ Motion for Temporary Restraining Order, Plaintiff

respectfully requests that the Court immediately rule on the instant motion without awaiting

briefing from the government, so that Plaintiff may seek appellate relief before Defendants

implement their cancellation of student loans and inflict irreparable harm on Plaintiff. See Wheeler

v. Talbot, 770 F.3d 550, 552 (7th Cir. 2014) (holding that district courts may deny preliminary
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injunctions without notice to adverse parties, including before adverse parties are served, and that

an order doing so “may be appealed immediately”).



       DATED: September 27, 2022.



                                                             Respectfully submitted,

                                                             /s/ Michael Poon
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                                                             *Pro Hac Vice pending
                                                             Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I certify that on this September 27, 2022, I served copies of the foregoing on counsel for

all Defendants in this action both by same-day personal service of and by delivering copies to the

U.S. Postal Service to be sent by certified mail to:

       Zachary Myers
       U.S. Attorney for The Southern District Of Indiana
       United States Attorney's Office
       10 W Market St, Suite 2100
       Indianapolis, IN 46204

and by delivering copies to the U.S. Postal Service to be sent by certified mail to:

       Merrick Garland, Attorney General
       U.S. Department of Justice
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       Washington, DC 20530-0009

       Miguel Cardona
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       400 Maryland Ave Sw
       Washington, DC 20202-0001

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                                                             /s/ Michael Poon
                                                             MICHAEL POON
